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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

    ELOISA VELA AND ELEAZAR VELA                           §
                                                           §
    Plaintiffs,                                            §
                                                           §
           vs.                                             §       CIVIL ACTION NO. 7:22-CV-00364
                                                           §
    CARRINGTON MORTGAGE                                    §
    SERVICES, LLC,                                         §
                                                           §
    Defendant                                              §

                   PROPOSED STIPULATION OF DISMISSAL WITH PREJUDICE

          Defendant Carrington Mortgage Services, LLC (“Carrington”) respectfully files this

Proposed Stipulation of Dismissal, 1 and show as follows:

          The Defendants are the only named defendants to have been served in the case. Pursuant

to F.R.C.P. 41, the Parties stipulate to dismissal of the case with prejudice and request an order of

dismissal be entered consistent with this stipulation.

                                                       Respectfully submitted,




                                                        By: /s/ Gabriella E. Alonso
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 At the January 4, 2023 status conference before the Court, counsel for Plaintiffs represented that Plaintiffs would
dismiss this matter. Counsel for Carrington subsequently attempted to contact counsel for Plaintiffs multiple times via
email for Plaintiffs’ consent to this filing. Counsel for Plaintiffs was unresponsive. Therefore, Carrington submits his
Proposed Stipulation of Dismissal without Plaintiffs’ counsel’s signature.

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                                              LLC




                                 CERTIFICATE OF SERVICE
       I certify that on this 6th day of February 2023, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. I further certify that a true and correct copy of the
foregoing has been served on all counsel of record as follows:

                                      Via CM/ECF and e-mail:
                                          Itzel Martinez-Santos
                                       itzel@martinezlawtx.com
                             The Law Offices of Martinez & Martinez, PLLC
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                                         Attorney for Plaintiffs


                                                     /s/ Gabriella E. Alonso
                                              Gabriella E. Alonso




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